

People v Perez (2022 NY Slip Op 00979)





People v Perez


2022 NY Slip Op 00979


Decided on February 15, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 15, 2022

Before: Kern, J.P., Oing, Singh, Moulton, González, JJ. 


Ind. No. 4837/99 Appeal No. 15314 Case No. 2021-00154 

[*1]The People of the State of New York, Respondent,
vJuan Perez, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Hunter Haney of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Diana J. Lewis of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J,), entered on or about December 4, 2020, which adjudicated defendant a level three sexually violent predicate offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant did not establish that his medical condition would significantly reduce his risk of reoffense. The other mitigating factors identified by defendant were unexceptional, and were sufficiently taken into account by the risk assessment instrument or outweighed by the seriousness of the offense and defendant's criminal history. In particular, defendant displayed a grave risk of reoffense against children by committing the underlying course of sexual
conduct against a five-year-old child after already having been convicted and incarcerated for sex crimes against a series of other children. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 15, 2022








